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2
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6    Facsimile:     (617) 994-5801

7    Attorneys for Plaintiff Kent Hassell,
     on behalf of himself and all others similarly situated.
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9
                                   UNITED STATES DISTRICT COURT
10
                                  NORTHERN DISTRICT OF CALIFORNIA
11

12
     KENT HASSELL, individually and on behalf of Case No. 4:20-cv-04062
13   all others similarly situated,
14                   Plaintiff,                         JOINT STIPULATION AND [PROPOSED]
15                                                      ORDER TO STAY ACTION IN LIGHT OF
            v.                                          PROPOSED SETTLEMENT
16
     UBER TECHNOLOGIES, INC., d/b/a UBER                Complaint Filed: June 18, 2020
17   EATS,                                              Trial Date:      None Set
18
                     Defendant.
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                                             JOINT STIPULATION
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               Case 4:20-cv-04062-PJH Document 60 Filed 02/22/22 Page 2 of 3



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               Pursuant to Civil Local Rule 7-12, Plaintiff Kent Hassell (“Plaintiff”) and Defendant
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     Uber Technologies, Inc. (“Defendant”) (collectively, “Parties”) by and through their respective
3
     counsel of record, hereby stipulate as follows:
4
               WHEREAS, on January 4, 2021, Plaintiff filed a Notice of Filing of First Amended
5
     Complaint against Defendant;
6
               WHEREAS, on January 6, 2021, at the Clerk’s direction, Plaintiff re-filed his First
7
     Amended Complaint directly (and not as an exhibit to the notice);
8
               WHEREAS, the deadlines for Plaintiff’s Motion for Class Certification and Motion for
9

10
     Summary Judgment are currently set for February 17, 2022;

11             WHEREAS, the Parties have reached a tentative resolution of this matter and have

12   filed a Motion for Preliminary Approval of Class Action Settlement in the related case, James v.

13   Uber Technologies, Inc. Case No. 19-CV-06462-EMC (N.D. Cal.) on February 17, 2022, which

14   would resolve all pending claims in this matter;

15             WHEREAS, in order to conserve costs and judicial resources, and in the interests of
16   efficiency and economy, the Parties request that all hearings be vacated and all deadlines,
17   including but not limited to Plaintiff’s deadlines to file his Motion for Class Certification and
18   Motion for Summary Judgment, be suspended while the parties finalize the settlement;
19             NOW THEREFORE, the Parties hereby stipulate, agree, and respectfully request that
20   the Court enter an Order establishing the following:
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               This action shall be stayed in light of the parties’ proposed settlement.
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     IT IS SO STIPULATED.
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                                             JOINT STIPULATION
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              Case 4:20-cv-04062-PJH Document 60 Filed 02/22/22 Page 3 of 3



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                                               Respectfully submitted,
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     Dated:   February 17, 2022                LICHTEN & LISS-RIORDAN, P.C.
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4
                                               _/s/ _Shannon Liss-Riordan__________
                                               Shannon Liss-Riordan
5
                                               Attorney for Plaintiff KENT HASSELL, on
6                                              behalf of himself and all others similarly
7
                                               situated.

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     Dated:   February 17, 2022                LITTLER MENDELSON, P.C.
11
                                               _/s/ Sophia Behnia__________________
12                                             Sophia Behnia
13
                                               Attorney for Defendant Uber
14                                             Technologies, Inc.
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                                                                       S DISTRICT
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.                     ATE           C
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     February __,
              22 2022                          __________________________________
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21                                             Hon. Phyllis J. HamiltonJ. Hamilton
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                                                                   Judge P
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                                    JOINT STIPULATION
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